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                            UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION




 Midas Green Technologies, LLC,

 Plaintiff,                                 Civil Action No. 6:22-cv-00050-ADA

               - vs. -                      Jury Trial Demanded

Rhodium Enterprises, Inc.;
Rhodium Technologies LLC;
Rhodium 10mw LLC;
Rhodium 2.0 LLC;
Rhodium 30mw LLC;
Rhodium Encore LLC;
Rhodium Renewables LLC;
Rhodium Renewables Sub LLC; and
Rhodium Ready Ventures LLC

         Defendants




PLAINTIFF’S SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 2
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       Pursuant to Federal Rules of Civil Procedure 26, 33, and 34, Plaintiff Midas Green

Technologies, LLC (“Midas”) hereby provides its supplemental responses and objections to

Interrogatory No. 2 from Defendants’ First Set of Interrogatories to Plaintiff. The following

responses are made only for the purposes of this action based on Midas’ present knowledge. Midas

expressly reserves the right to amend or further supplement its responses.

       Midas incorporates by reference its general objections set forth in Plaintiff’s Responses

and Objections to Defendants’ First Set of Interrogatories to Plaintiff.

                         SPECIFIC RESPONSES AND OBJECTIONS
INTERROGATORY NO. 2:

       For each Asserted Claim of the Patents-in-Suit, identify the date(s) of first conception and

first reduction to practice, describe in detail the facts and circumstances surrounding the first

conception and first reduction to practice, including any alleged diligence between such conception

and respective reduction to practice, describe the contribution of each inventor to each such claim,

and provide the identities of all persons having knowledge of such conception or reduction to

practice, including without limitation, the nature of each person’s participation, involvement,

and/or contribution to such conception and/or reduction to practice.

RESPONSE TO INTERROGATORY NO. 2: (August 31, 2022)

       Midas objects to this Interrogatory because it is overbroad, unduly burdensome,

disproportionate, unlikely to lead to the discovery of admissible evidence, and compound. As to

the portion of this request seeking the date(s) of first conception and first reduction to practice,

Midas states a date of first conception of March 14, 2012, and a first reduction to practice of

December 14, 2012.

       As to the portion of this Interrogatory requesting that Midas “describe in detail the facts

and circumstances surrounding the first conception and first reduction to practice, including any

alleged diligence between such conception and respective reduction to practice,” Midas refers

Defendants to the documents identified in Plaintiff’s Preliminary Infringement Contentions, as

well as to the documents that Midas previously produced in the Midas v. Immersion case.


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          As to the portion of this Interrogatory, requesting that Midas “describe the contribution of

each inventor to each such claim, and provide the identities of all persons having knowledge of

such conception or reduction to practice, including without limitation, the nature of each person’s

participation, involvement, and/or contribution to such conception and/or reduction to practice,”

Midas objects because overbroad, unduly burdensome, not relevant to any parties’ claims of

defenses, disproportionate, unlikely to lead to the discovery of admissible evidence. Subject to

the foregoing, Midas further responds that after a reasonable investigation, Midas presently

understands that:

          Named inventor Christopher “Chris” Boyd may have particularly contributed at least to the

conception and/or reduction to practice of the plenum, weir and overall tank and tank module

design, and/or related subject matter.

          Named inventor James “Jim” Koen may have particularly contributed at least to the

conception and/or reduction to practice of the overall tank and tank module design, and/or related

subject matter.

          Named inventor David “Chris” Laguna may have particularly contributed at least to the

conception and/or reduction to practice of the overall tank and tank module design, and/or related

subject matter.

          Named inventor Thomas “Tim” Turner may have particularly contributed at least to the

conception and/or reduction to practice of the weir, reservoir and overall tank and tank module

design, and/or related subject matter.

          Named inventor Kenneth “Derryl” Swinden may have particularly contributed at least to

the conception and/or reduction to practice of the control facility, and/or related subject matter.

          Named inventor Mario Conti may have particularly contributed at least to the conception

and/or reduction to practice of the overall tank and tank module design, and/or related subject

matter.

          Named inventor John Tribou may have particularly contributed at least to the conception

and/or reduction to practice of the overall tank and tank module design, and/or related subject


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matter.

          Midas further refers Defendants to the Midas product development documents that Midas

previously produced in the Midas v. Immersion case.

SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 2: (November 22, 2022)

          Midas objects to this Interrogatory because it is overbroad, unduly burdensome,

disproportionate, unlikely to lead to the discovery of admissible evidence, and compound. In

particular, the interrogatory is overbroad and unduly burdensome because it requires Midas to

provide details of facts and circumstances for events that occurred approximately ten years ago.

Midas will respond with the information that it has obtained as a result of its more-than-reasonable

investigation of the subject matter of the Interrogatory.

          As to the portion of this request seeking the date(s) of first conception to practice, Midas

contends that for the asserted claims, it is entitled to a date of first conception at least as early as

March 14, 2012, see MIDAS0000036 (lab notebook signed by Chris Boyd on March 4, 2012 and

witnessed by Jim Koen on March 14, 2012), and that it is entitled to a date of first reduction to

practice of December 14, 2012, by virtue of its filing of U.S. Appl. No. 61/737,200 (“the First

Provisional Application”), see MIDAS000001–51.

          As to the portion of this Interrogatory requesting that Midas “describe in detail the facts

and circumstances surrounding the first conception and first reduction to practice, including any

alleged diligence between such conception and respective reduction to practice, Midas states as

follows: certain Midas personnel, for example Chris Boyd, Chris Laguna, and Jim Koen, had

occasion to observe the operation of the immersion cooling systems that Midas Networks had

purchased from GRC. Midas observed problems and began to envision ways to fix those problems.

Midas personnel also began to identify shortcomings and limitations to the GRC systems. The

Asserted Patents were the eventual result.

          Midas exercised diligence during the time period between foregoing dates of first

conception and first reduction to practice, for example by (1) continuing to work on various

immersion cooling designs and refinements, see, e.g., MIDAS0046356; MIDAS0046358–61;


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MIDAS0046394–96; MIDAS0006962–67; MIDAS0006968–71; MIDAS0046368–69 (John

Tribou discussing “utiliz [ing] the redesigned tanks”); MIDAS0006936-60 (business plan),

including MIDAS0006951 (“To implement design improvements based on [Midas’s] operating

experience, Midas/MGT will employ an Engineering and Design Firm”); MIDAS0046399–420;

MIDAS0046430–36; MIDAS0046421–24 (Midas was “develop[ing] the prototype for a 2nd

generation of tanks and management systems that reflect improvements based on [Midas’s] 18+

months of experience”)); see also, MIDAS0006908–10; MIDAS0046362–63; MIDAS0040993–

1005; (2) working with a product development firm called Product Concept Development, Inc.

(“PCD”) in order to help with the design and construction of a prototype, see, e.g., MIDAS0046370

(Midas meeting with PCD in July 2012); MIDAS0046374 (action item for PCD to be involved in

the tank and system design); MIDAS0046378–81 (August 2012 email exchange with PCD

regarding design considerations for tanks); MIDAS0046382–85 (Midas continues to engage with

PCD regarding Midas’s design requirements in September 2012); (3) beginning to work with

Deaton Engineering as an alternative product development firm for the design and construction of

a prototype, see, e.g., MIDAS0006920–23 (Midas asked Deaton Engineering for a proposal for

“developing the prototype system” as an “alternate” to PCD); Deaton 003274–79; Deaton 010524–

010529; Deaton 003280–83; MIDAS0008188 (Deaton “put together a preliminary budget for

engineering and design of the immersion cooling data center equipment”); MIDAS0008190

(Midas engaging with Deaton Engineering to “work through the design”); Deaton 010530–32;

MIDAS0008389; Deaton 010533–36; (4) interviewing a number of intellectual property counsel

and ultimately choosing to retain patent attorney Jeffrey Van Myers; and (5) working with

Mr. Van Myers to prepare the contents of the First Provisional Application, see, e.g.,

MIDAS0035262–99; MIDAS0006968–71. See also, Deaton 010700 (Midas having to delay

development work with Deaton in order to commission new control system because of problems

with control system in systems acquired from GRC); Deaton 010648, Deaton 010650,

MIDAS0008749 (same).

       In addition to diligently pursuing reduction to practice, Midas was actively working on


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other novel and potentially protectable inventions that ultimately did not end up being a part of the

Asserted Patents. See, e.g., MIDAS0008191–93 (discussing Midas’s SLED design),

MIDAS0040992 (same).

       As to the portion of this Interrogatory requesting that Midas “describe the contribution of

each inventor to each such claim, and provide the identities of all persons having knowledge of

such conception or reduction to practice, including without limitation, the nature of each person’s

participation, involvement, and/or contribution to such conception and/or reduction to practice,”

Midas states subject to its objections and after a more-than-reasonable investigation, Midas

presently understands as follows:

       Named inventor Christopher “Chris” Boyd contributed at least to the idea, design and

development of the plenum, weir, the overall tank and tank module, the fluid recovery reservoir,

the concept of a highly-integrated module, the interconnect panel facility, the communication

facility for remote monitoring and control, and related subject matter in the asserted claims. See,

e.g., MIDAS0000036; MIDAS0046358–61; MIDAS0046365–66; MIDAS0046394–96 Deaton

010771; Deaton 010777; Deaton 010781; Deaton 010940–56; Deaton 010999–1000; Deaton

011021–23; Deaton 011041; Deaton 011254; Deaton 011272; Deaton 011288; Deaton 011305–

06; Deaton 011348; Deaton 011339–40; Deaton 011365; Deaton 011488; Deaton 011498; Deaton

011503; Deaton 011507; Deaton 011583. Named inventor David “Chris” Laguna collaborated

closely with Chris Boyd on various aspects of the invention, including at least the idea, design and

development of the weir, the placement of the plenum to insure uniform flow distribution and

avoid hotspots, and the overall tank and tank module, fluid recovery reservoir, the communication

facility for remote monitoring and control, and related subject matters.

       Named inventor James “Jim” Koen also collaborated with Chris Boyd, as well as with

Mario Conti, and with Tim Turner and Kenneth “Derryl” Swinden of Deaton Engineering, and is

believed to have contributed to the design and development of the overall tank and tank module,

the control facility, and related subject matters in the asserted claims. See, e.g., Deaton 010783–

84; Deaton 010798; Deaton 010802–03; Deaton 010875–76; Deaton 011021–23; Deaton 011075;


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Deaton 011348; Deaton 012739.

        Named inventor Mario Conti collaborated closely with Chris Boyd and Tim Turner, and is

believed to have contributed to the design and development of the overall tank and tank module,

and related subject matters in the asserted claims. See, e.g., Deaton 010565–66; Deaton 010766–

67; Deaton 010895–97; Deaton 010885–86; Deaton 010915–17; Deaton 011042; Deaton 011043–

46; Deaton 011062–63; Deaton 011352–53; Deaton 011378–80; Deaton 011427–31;

MIDAS0019429–30; MIDAS0019435–37; Deaton 012294–99; Deaton 012739; Deaton 012740;

Deaton 012787–88; Deaton 012795–97; Deaton 012811–12. Named inventor John Tribou

collaborated with Chris Boyd and Jim Koen, and is believed to have contributed to the design and

development of the overall tank and tank module, and/or the control facility and communications

facility, and related subject matters in the asserted claims. See, e.g., MIDAS0046371–72;

MIDAS0046378–81; MIDAS0006911–12; MIDAS0006935–60; MIDAS0006961–67;

MIDAS0009065–67.

        Named inventor Thomas “Tim” Turner, a licensed professional engineer with Deaton

Engineering, is believed to have collaborated closely with Chris Boyd, Jim Koen, Mario Conti,

contributing to the design and development of the plenum, weir, the overall tank and tank module,

the fluid recovery reservoir, the interconnect panel facility, the control facility, and related subject

matter of the asserted claims, including preparing detailed engineering plans for the eventual

prototype. See, e.g., Deaton 010706; Deaton 010778; Deaton 010815; Deaton 010825–27; Deaton

010882–83; Deaton 010872; Deaton 010888–890; Deaton 010982–010983; Deaton 011003–05;

Deaton 011094–110; Deaton 011112–26; Deaton 011127; Deaton 011252–53; Deaton 011287;

Deaton 011349; Deaton 011314–15; Deaton 011343–44; Deaton 011360–61; Deaton 011438–41;

Deaton 011465–76; Deaton 011487; Deaton 011491; Deaton 011492–94; Deaton 011582. Named

inventor Kenneth “Derryl” Swinden, a senior designer at Deaton Engineering, worked closely at

least with Tim Turner and Jim Koen, contributing at least to the design and development of the

control facility and related subject matter for the asserted claims, including detailed engineering

work relating to the control systems for the eventual prototype. See, e.g., Deaton 010546; Deaton


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010667; Deaton 010805; Deaton 011165; Deaton 011163; Deaton 011267; Deaton 011281;

Deaton 011282; Deaton 011287; Deaton 011461–63; Deaton 011491; Deaton 011490; Deaton

011508–09; Deaton 011630; Deaton 012097.

SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 2: (April 5, 2023):

        Midas objects to this Interrogatory because it is overbroad, unduly burdensome,

disproportionate, unlikely to lead to the discovery of admissible evidence, and compound. In

particular, the interrogatory is overbroad and unduly burdensome because it requires Midas to

provide details of facts and circumstances for events that occurred approximately ten years ago.

Midas will respond with the information that it has obtained as a result of its more-than-reasonable

investigation of the subject matter of the Interrogatory.

        As to the portion of this request seeking the date(s) of first conception to practice, Midas

contends that for the asserted claims, it is entitled to a date of first conception at least as early as

March 14, 2012, see MIDAS0000036 (lab notebook signed by Chris Boyd on March 12, 2012

and witnessed by Jim Koen on March 14, 2012), and that it is entitled to a date of reduction to

practice no later than December 14, 2012 for all asserted claims, by virtue of its filing of U.S.

Appl. No. 61/737,200 (the “First Provisional Application”), see MIDAS000001–51.

        As to the portion of this Interrogatory requesting that Midas “describe in detail the facts

and circumstances surrounding the first conception and first reduction to practice, including any

alleged diligence between such conception and respective reduction to practice, Midas states as

follows: certain Midas personnel, for example Chris Boyd, Chris Laguna, James Koen and John

Tribou, had occasion to observe the operation of the immersion cooling systems that Midas

Networks had purchased from GRC. Midas observed problems and began to envision ways to fix

those problems. Midas personnel also began to identify shortcomings and limitations to the GRC

systems. The Asserted Patents were the eventual result. Midas repeatedly told GRC of

deficiencies and problems with the Gen 1 tank, but GRC had no interest in engaging with Midas

on discussing the problems.

        Midas exercised diligence during the time period between foregoing dates of first


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conception and first reduction to practice for all asserted claims, for example by (1) continuing to

work on various immersion cooling designs and refinements, see, e.g., MIDAS0046356;

MIDAS0046358–61; MIDAS0046394–96; MIDAS0006962–67; MIDAS0006968–71;

MIDAS0046368–69 (John Tribou discussing “utiliz [ing] the redesigned tanks”);

MIDAS0006936-60 (business plan), including MIDAS0006951 (“To implement design

improvements based on [Midas’s] operating experience, Midas/MGT will employ an

Engineering and Design Firm”); MIDAS0046399–420; MIDAS0046430–36; MIDAS0046421–

24 (Midas was “develop[ing] the prototype for a 2nd generation of tanks and management

systems that reflect improvements based on [Midas’s] 18+ months of experience”)); see also,

MIDAS0006908–10; MIDAS0046362–63; MIDAS0040993– 1005; (2) working with a product

development firm called Product Concept Development, Inc. (“PCD”) in order to help with the

design and construction of a prototype, see, e.g., MIDAS0046370 (Midas meeting with PCD in

July 2012); MIDAS0046374 (action item for PCD to be involved in the tank and system design);

MIDAS0046378–81 (August 2012 email exchange with PCD regarding design considerations

for tanks); MIDAS0046382–85 (Midas continues to engage with PCD regarding Midas’s design

requirements in September 2012); (3) beginning to work with Deaton Engineering as an

alternative product development firm for the design and construction of a prototype, see, e.g.,

MIDAS0006920–23 (Midas asked Deaton Engineering for a proposal for “developing the

prototype system” as an “alternate” to PCD); Deaton 003274–79; Deaton 010524– 010529;

Deaton 003280–83; MIDAS0008188 (Deaton “put together a preliminary budget for

engineering and design of the immersion cooling data center equipment”); MIDAS0008190

(Midas engaging with Deaton Engineering to “work through the design”); Deaton 010530–32;

MIDAS0008389; Deaton 010533–36; (4) interviewing a number of intellectual property counsel

and ultimately choosing to retain patent attorney Jeffrey Van Myers; and (5) working with

Mr. Van Myers to prepare the contents of the First Provisional Application, see, e.g.,

MIDAS0035262–99; MIDAS0006968–71.

       As to the portion of this Interrogatory requesting that Midas “describe the contribution of


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each inventor to each such claim, and provide the identities of all persons having knowledge of

such conception or reduction to practice, including without limitation, the nature of each person’s

participation, involvement, and/or contribution to such conception and/or reduction to practice,”

Midas states subject to its objections and after a more-than-reasonable investigation, Midas

presently understands as follows:

          Named inventor Christopher “Chris” Boyd solely conceived the invention for all asserted

claims, and unilaterally concepted the initial design and development of the plenum, weir, the

overall tank and tank module, the fluid recovery reservoir, the concept of a highly-integrated

module, the interconnect panel facility, the communication facility for remote monitoring and

control, the control facility, and related subject matter in the asserted claims. Each asserted

claim is entitled to a date of first conception at least as early as March 14, 2012, see

MIDAS0000036 (lab notebook signed by Chris Boyd on March 12, 2012 and witnessed by Jim

Koen on March 14, 2012), and that it is entitled to a date of reduction to practice no later than

December 14, 2012 for all asserted claims, by virtue of its filing of U.S. Appl. No. 61/737,200

(“the First Provisional Application”). Mr. Boyd is the sole inventor for the patented claims.

          David “Chris” Laguna collaborated closely with Chris Boyd on reducing the invention to

practice, including reduction to practice of the weir, the overall tank and tank module, fluid

recovery reservoir, the communication facility for remote monitoring and control, the control

facility and related subject matters. However, Mr. Laguna did not conceive any of the patented

claims.

          James “Jim” Koen collaborated closely with Chris Boyd on reducing the invention to

practice, including reduction to practice of the weir, the overall tank and tank module, fluid

recovery reservoir, the communication facility for remote monitoring and control, the control

facility and related subject matters. However, Mr. Koen did not contribute to the conception of

any of the patented claims.

          John Tribou collaborated with Chris Boyd and Jim Koen and contributed to the reduction

to practice of the overall tank and tank module, and/or the control facility and communications


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facility, and related subject matters in the asserted claims. See, e.g., MIDAS0046371–72;

MIDAS0046378–81; MIDAS0006911–12; MIDAS0006935–60; MIDAS0006961–67;

MIDAS0009065–67. However, Mr. Tribou did not contribute to the conception of any of the

patented claims.

        After reduction to practice, Mario Conti collaborated closely with Chris Boyd and Tim

Turner, and worked to improve and optimize the overall tank and tank module, and related

subject matters in the asserted claims. See, e.g., Deaton 010565–66; Deaton 010766– 67; Deaton

010895–97; Deaton 010885–86; Deaton 010915–17; Deaton 011042; Deaton 011043–46; Deaton

011062–63; Deaton 011352–53; Deaton 011378–80; Deaton 011427–31;

MIDAS0019429–30; MIDAS0019435–37; Deaton 012294–99; Deaton 012739; Deaton 012740;

Deaton 012787–88; Deaton 012795–97; Deaton 012811–12. However, Mr. Conti did not

contribute to the conception of any of the patented claims, nor did he contribute to the filing of

the First Provisional Application.

        After reduction to practice, Thomas “Tim” Turner, a licensed professional engineer with

Deaton Engineering, collaborated closely with Chris Boyd, Jim Koen, and Mario Conti, to make

improvements to the plenum, weir, the overall tank and tank module, the fluid recovery reservoir,

the interconnect panel facility, the control facility, and related subject matter of the asserted

claims, including preparing detailed engineering plans for the eventual prototype. See, e.g.,

Deaton 010706; Deaton 010778; Deaton 010815; Deaton 010825–27; Deaton 010882–83;

Deaton 010872; Deaton 010888–890; Deaton 010982–010983; Deaton 011003–05; Deaton

011094–110; Deaton 011112–26; Deaton 011127; Deaton 011252–53; Deaton 011287; Deaton

011349; Deaton 011314–15; Deaton 011343–44; Deaton 011360–61; Deaton 011438–41; Deaton

011465–76; Deaton 011487; Deaton 011491; Deaton 011492–94; Deaton 011582. However, Mr.

Turner did not contribute to the conception of any of the patented claims, nor did he contribute to

the filing of the First Provisional Application.

        After reduction to practice, Kenneth “Derryl” Swinden, a senior designer at Deaton

Engineering, worked closely at least with Tim Turner and James Koen, to make improvements to


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the control facility and related subject matter for the asserted claims, including detailed

engineering work relating to the control systems for the eventual prototype. See, e.g., Deaton

010546; Deaton 010667; Deaton 010805; Deaton 011165; Deaton 011163; Deaton 011267;

Deaton 011281; Deaton 011282; Deaton 011287; Deaton 011461–63; Deaton 011491; Deaton

011490; Deaton 011508–09; Deaton 011630; Deaton 012097. However, Mr. Swinden did not

contribute to the conception of the patented claims, nor did he contribute to the filing of the First

Provisional Application.

DATED: April 5, 2023

                                              By:            /s/ Joseph E. Thomas
                                                     Joseph E. Thomas (admitted p.h.v.)
                                                     William J. Kolegraff (admitted p.h.v.)
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                                                     Midas Green Technologies, LLC




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                              CERTIFICATE OF SERVICE

      I hereby certify that counsel of record who have appeared electronically in
this case are being served on April 5, 2023 via the email address that counsel
provided to Court's ECF system.

                                        /s/ Tierra Mendiola
                                        Tierra Mendiola




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